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U'NH`ED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF FLOR]DA
ORLANDO DIVISION
ease Numaer: 6;16-cv-02158-RaD-TBS
SANTIARY RIVERA and I-[EC`IOR L. "“’
BUR.GOS, on behalf of themselves and 1
on behalf of all others similarly situaied,

Plaintiffs,
v.

USA TRANSPORTER SERVICES, lNC.,

Def`endant.

SE AGRE ANDMUTU LRELE SE

Plaintiffs, Santiary Rivera and Hector L. Burgos (“Plaintifl`s"), on their own behalf, and"
Defendant, USA Tranaporter Servieea, bic., (“Defendant”), hereby agree upon this Settlenienl
Agreement and Mutual Relea.se ("Scttlement" or “Agreement”) of all issues involved in"'l'he
above-styled case as follows:

1. Defendant does not adrnit, but rather, specifically denies, liability to Plaintiffs, or
to anyone else as a result of or growing out of matters set forth in the pleadings of the Plaintiffs
in the above-entitled cause. Plaintiffs represent and warrant that they know of no other person
who expressed a desire or intent to opt-into, or join, this action or Ble a similar claim against
Defendant or any related entity, who has not already filed such a olaim.

2. Defendant agrees to pay, and Plaintiffs and their attorney agree to accept, the total n
sum of 'l`en Thousand Dollars and 00/ 100 ($10,000.00) to be paid as set forth below, and oilier

good and valuable consideration as described below in exchange for a full and final release of all

clairns that were or could have been brought in the above- styled aetion.

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3. As part of this Agreement and a result of the payments to be made to Plaintiffs"by
Defendant through this Agreement, Plaintit}`s agree that they have now been paid for all._hours
worked and overtime compensation while employed by Defendant and agrees that Defendant
does not owe Plaintiffs any other monies with regard to compensation associated for thoan
worked or for any other reason.

4. Defendant shall provide Plaintiffs with a neutral employment reference and upon
inquiry shall confirm Plaintiffs’ dates of work and rate(s) of pay, but without reference to any
claim asserted by them, this lawsuit, nor the resolution thereof

5. `£hc Parties fhrther agree that the Court may dismiss, with prejudice the above~
styled lawsuit, which is pending in the United Smtes Djstrict Court for the Middle Dj.stric°t"of
Florlda, upon the effective date of this compromise Settlerncnt Agreement. It is also agreed that
in the event the above-nmbercd and entitled lawsuit is not dismissed with prejudice, this
compromise Settlement Agrcement shall become null and void and Defendant shall be entitled to
return by Pla.iatiffs of all sums paid by Defendant heretmder.

6. It is farther agreed and understood that Defendant shall mail the settlement
proceeds via Federal Express to the Wenzel Fenton Cabassa tinn, Plaintiffs’ attomey, in two
installments2 as follower

(a) Within 10 days of the Court’s approval of the settlement, one check to Santiary Rii"r¥lia

for Threc Thousand Dollars ($3,000.00), and one check to Hector Burgos for Tl_i_ree

Thousand Dollars ($3,000.00).

(b] Within 30 days of the first payment one check to Wenzel Fenton Cabassa, P.A.;' 'Trust
Account for Four Thousand Dollars ($4,000.00}.

Defendant has no knowledge as to the fee agreement between Plaintiffs and their counsel `_
7. Plainti&s agree to assume full responsibility for and to hold Defendant harmless

for the payment of any federal, statc, or local taxes with respect to the monies paid in Paragraph

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7, and Plalntiffs shall be responsible for, hold Defcndant harmless for and/or reimburse
Defendant, for any and all taxcs, including any interest or penalty assessed by any taxing entity
against Defendant, but excluding the employer portion of any FICA tax, that may be determined
to be owed thereon Plaintiffs agree to pay any such taxes owed by Plaintiffs, and, acicnowlcdges
that Defendant will issue one or more Form 1099s in connection with the above~referenced
payments

8. in consideration of the monies and other good and valuable consideration
provided for herein, Plaintiffs represent and warrant that Plainst will comply with all the tenns
of this Settlement Agreernent. Should Plaintiffs breach any provisions or paragraphs of this
Agrecment, Defendant shall have all rights, remedies and/or causes of action available at law or
in equity. lt is understood that Defendant shall be entitled to recover, as a part of its costs, any
attorneys’ fees incurred by it in connection with any pursuit by Plaintit`f of any claim, or type of
claim, released by this Agreement. Plain`tiffs acloiowlcdge that any breach of this Agreernent
shall entitle the Defcndant to prevailing party attorneys’ fees and costs, damages, and injunctive
relief to enjoin the actions of Plaintiffs.

9. This Agreement is to be construed and governed under the laws of the Stete of
Florida and shall bind the parties and their respective heirs, estates, successors and assigns". If
any provision is determined by a court of competent jurisdiction to be invalid or unenforceable
the remaining provisions shall continue in hill force and effect nobvithstanding, except that if
paragraphs 2, 3, 4 and 6 are found to be unenforceable and the terms of those provisions cannot
be resolved satisfactorily by the parties, then at the option of Defendant, this Agreement shall be
sun aid vera and pereier sham be assess rs the return ar an sums paid by veterans
hereunder. Plaintiffs acknowledge that Plaintit`fs have not previously eausferred, assigned or

conveyed any right or claim released in this Agreentent.

assuming

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10. lt is further understood and agreed that the total sum of Ten ’I'housand Dollars
($10,000.00) paid as set forth above, and the other good and valuable consideration provided for
hcrein, are not mere recitals, but are the consideration for this Agreement and the full and final
release effected thereby Plaintiffs hereby represent and warrant that they have entered into this
Settlement Ag'eement of their own dee will and accord and in accordance with Plaintiffs’ own
judgment, and after consultation with Plaintiffs’ attorneys Plaintiffs hereby states that Plaintiffs
and Plaintiffs' counsel have made a full and independent investigation of all the facts and
representations relating to this agreement and release and therefore states that Plainn'Es have not
been induced to enter into this Agreetnent by any steternent, fact or representation of any kind or
character on the part of Det`endant, or on the parr of Defendant’s agents, attorneys, servants,
employees or representatives other than those speeitically set out herein l’laintiffs specihcahy
state that Plaintiffs are executing this Agreement knowingly and voluntarily

11. Plaintiffs acknowledge that Plaintiffs have thoroughly read the entire Agreeineht,

and speci&cally acknowledges the following

a. Plaintiffs understand the language of the settlement agreement and
release, and that any questions Piaintitl`s may have had during Plaintiffs review of the
Agreement were explained to Plaintiffs’ satisfaction and understanding by retained legal
counsel of their choosiug;

b. Plaintiffs understand that Plaintiffs are not waiving any rights or claims
that may arise after the date this settlement agreement and release is executed,'

c. Plaintiffs’ waiver cf rights and claims in this Agreernent is in exchange

for good and valuable consideration in addition to that which Plcintiffs may already be
entitled;

d. Pleintiffs have been advised to consult, and has consulted or had adequate
opportunity to consult, legal counsel of their choosing prior to executing this Agreetn_e_nt;

12. The parties hereto acknowledge that this Agreernent is enforceable in the state or

federal courts of Florida. ?laintit]’s and Defendant hereby waive any pleas of jurisdiction or

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venue ss not being residents of Orange County, Florida, and hereby specitiea]ly audion'ze any
action brought upon the enforcement of this Agreement to be commenced or filed in Oraiig.e

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County, Florida.

13. n is timber agreed that each party shall bear then is or his own gasoline
attorneys’ fees, other than what is expressly set forth herein, incurred in the above-entitled suit
and in handling the matters covered by this Agreetnent. l

14. This Agreernent is entered into freely and voluntarily by the parties soier to
avoid further costs, risks and hazards of litigation and to settle all claims and potential claims
related to the above styled action.

15. Plaintif°fs understand and agree that they would not receive the monies and!or
beneiits specified above, except for their execution of this Agreement and the fulfillment of the
promises contained herein 4

16. The parties acknowledge that approval of this Agreement by the Conrt is a
prerequisite to its validity The parties agree that the Agreemont shall not become effective or
enforceable until the Court approves the .Ag,reement and enters the Final Judgment of Dismissa.l.
Tl'te parties agree that the Court shall retain jurisdiction to enforce the terms of this Agreement
for a period of six months

17. Each party acknowledges that, except as expressly set forth herein, no
representations of any kind or character have been made by any other party or parties, agents,
representatives or attorneys to induce the execution of this Agreement. l “’

18. This Agreement cannot bc modified, altered or changed except by a writing
signed by the parties wherein specific reference is made to this Agreernent. ""i

19. This Agreement constitutes a single integrated contract expressing the entire

agreement of the parties hereto There is no other agreement or understanding, written or oral,

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Case 6:16-cV-02158-RBD-TBS Document 28-1 Filed 08/24/17 Page 6 of 6 Page|D 173

expressed cr implied, among the parties hereto conceding the subject matter haeof, emept&he
agreements set forth in this Agreement. - :s

20. Language of all parts of this Agrecmcnt shall be construed ns a whole according
to its fair meaning. The parties agree that this Agroemcnt is the product of joint authorahip, and
in the event of any ambiguiiy the Agrcemcnt shall not be consuued against any party. l

21. In the event a payment is not limer received, Plaimi§°$ will provide lwritten
notice co De£cndant’s counsel via email and Dcfcndant will have §ve`($) calendar days to cure
If Plaintiil`s have not received payment upon the mrpiraticn of this five (S) calendar day period,
Plaindffs shall immediaocly be entitled to a consent judgment against Defendant, for all unpaid
portions cf the settlement illnds. »..?.f“"

22. The individual measuring this Agteernmt on behalf of die corporate Def¢mdanthas
all requiaiue capacity, power and audiority to execute and bind Defendant to this Agrecment. and
to perfonn all obligations hmlmrler. l

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